  Filed 12/23/14                                                            Case 09-90452                                                                    Doc 281

     STEPHEN C. FERLMANN
     CHAPTER 7 TRUSTEE
     4120 DALE ROAD # J-8 # 184
tems MODESTO,
.2    Inc.CA 95356
                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF CALIFORNIA
                                 MODESTO DIVISION


               In re:                                                                          §
                                                                                               §
               DELIDDO AND ASSOCIATES, INC.                                                    §           Case No. 09-90452
                                                                                               §
                                                             Debtor(s)                         §

                                                            TRUSTEE’S FINAL REPORT (TFR)

                          The undersigned trustee hereby makes this Final Report and states as follows:

                      1. A petition under chapter 11 of the United States Bankruptcy Code was filed on
                02/24/2009 . The case was converted to one under Chapter 7 on 01/29/2010 . The
               undersigned trustee was appointed on 02/02/2010 .

                          2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                       3. All scheduled and known assets of the estate have been reduced to cash, released to
               the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
               pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
               disposition of all property of the estate is attached as Exhibit A.

                          4. The trustee realized gross receipts of                                             $             403,884.65

                                                 Funds were disbursed in the following amounts:

                                                 Payments made under an interim                                                          0.00
                                                 disbursement
                                                 Administrative expenses                                                        26,434.74
                                                 Bank service fees                                                              11,351.81
                                                 Other payments to creditors                                                    10,000.00
                                                 Non-estate funds paid to 3rd Parties                                                0.00
                                                 Exemptions paid to the debtor                                                       0.00
                                                 Other payments to the debtor                                                        0.00
                                                                                           1
                                                 Leaving a balance on hand of                                   $             356,098.10

         ____________________
                    1
                       The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
         will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
         maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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              The remaining funds are available for distribution.

                    5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
             account.

                    6. The deadline for filing non-governmental claims in this case was 07/15/2010 and the
             deadline for filing governmental claims was 07/28/2010 . All claims of each class which will
             receive a distribution have been examined and any objections to the allowance of claims have
             been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
             being made, is attached as Exhibit C.

                        7. The Trustee’s proposed distribution is attached as Exhibit D.

                    8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
             $ 23,444.23 . To the extent that additional interest is earned before case closing, the maximum
             compensation may increase.

                    The trustee has received $ 0.00 as interim compensation and now requests a sum of
             $ 23,444.23 , for a total compensation of $ 23,444.23 2. In addition, the trustee received
             reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
             reimbursement for expenses of $ 449.26 , for total expenses of $ 449.26 2.

                    Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
             foregoing report is true and correct.


             Date: 10/23/2014                                     By:/s/STEPHEN C. FERLMANN TRUSTEE
                                                                      Trustee



             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
             exemption 5 C.F.R. § 1320.4(a)(2) applies.




       ____________________
                  2
                   If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
       Trustee’s Proposed Distribution (Exhibit D).

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                                                                                                                                                                                                             Page:          1
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                                                                                             FORM 1
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES
                                                                                                                                                                                                             Exhibit A
   Case No:              09-90452                            RHS         Judge:       RONALD H. SARGIS                              Trustee Name:                      STEPHEN C. FERLMANN TRUSTEE
   Case Name:            DELIDDO AND ASSOCIATES, INC.                                                                               Date Filed (f) or Converted (c):   01/29/2010 (c)
                                                                                                                                    341(a) Meeting Date:               03/12/2010
   For Period Ending:    10/23/2014                                                                                                 Claims Bar Date:                   07/15/2010


                                      1                                               2                            3                              4                          5                              6

                              Asset Description                                    Petition/                 Est Net Value                Property Formally            Sale/Funds                       Asset Fully
                  (Scheduled and Unscheduled (u) Property)                        Unscheduled            (Value Determined by                Abandoned                 Received by                  Administered (FA)/
                                                                                    Values                Trustee, Less Liens,               OA=554(a)                  the Estate               Gross Value of Remaining
                                                                                                              Exemptions,                                                                                 Assets
                                                                                                           and Other Costs)

     1. UNION BANK OF CALIFORNIA-CHECKING                                                   15,906.00                    4,441.61                                                    4,441.61                          FA
     2. DEPOSIT SUPERIOR COURT N.J.                                                        100,000.00                        0.00                                                         0.00                         FA
     3. DEPOSIT PG & E                                                                       1,250.00                        0.00                                                         0.00                         FA
     4. BAKER VALLEY SCHOOL DIST-ACCOUNTS REC.                                             200,000.00                  125,000.00                                                135,000.00                            FA
     5. CLAIM-URS-GM LONG BEACH                                                            210,000.00                        0.00                                                         0.00                         FA
     6. CLAIM-CONSTELLATION ENERGY JET AVAIATION                                            40,000.00                        0.00                                                         0.00                         FA
     7. CLAIM-UNISOLAR-DOE CONTRACT                                                        100,000.00                        0.00                                                         0.00                         FA
     8. CLAIM-URS JET AVIAT. PH 2 BREACH OF CONTRACT                                       593,748.00                        0.00                                                         0.00                         FA
     9. CLAIM-URS JET AVIAT. PH 1                                                          150,000.00                        0.00                                                         0.00                         FA
    10. CLAIM-URS RENTS LONG BEACH & GM                                                    450,000.00                        0.00                                                         0.00                         FA
    11. CLAIM-MMA RENEWAL VENT.                                                           1,250,000.00                       0.00                                                         0.00                         FA
    12. OLD RYDER BOX TRUCK                                                                  4,000.00                        0.00                                                         0.00                         FA
    13. OFFICE EQUIPMENT                                                                    10,000.00                        0.00                                                         0.00                         FA
    14. JET AVIATION INSTALLATION-CONTRACT                                                 235,000.00                  235,000.00                                                175,000.00                            FA
    15. SHEET METAL WORK EQUIPMENT                                                          10,000.00                        0.00                                                         0.00                         FA
    16. RENEWAL ENERGY CREDITS                                                              Unknown                          0.00                                                         0.00                         FA
    17. REFUND FROM PAYCHEX                            (u)                                        0.00                    941.00                                                        941.00                         FA
    18. VOID                              (u)                                                     0.00                       0.00                                                         0.00                         FA
    19. PREFERENCE PETERSON CONSTUCTION ROOFING                                                   0.00                   3,500.00                                                    3,500.00                          FA
        (u)
    20. VOID                              (u)                                                     0.00                       0.00                                                         0.00                         FA
    21. PREFERENCE INOVATEUS SOLAR                           (u)                                  0.00                  75,000.00                                                   75,000.00                          FA
    22. PREFERENCE JACK DELIDDO ADVERSARY                          (u)                            0.00                  20,000.00                                                   10,000.00                          FA
    23. SHAREHOLDER ADVANCES & LOANS                                                      1,918,504.00                       0.00                                                         0.00                         FA


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                                                                                                     FORM 1
                                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                  ASSET CASES
                                                                                                                                                                                                                        Exhibit A
   Case No:                09-90452                             RHS              Judge:        RONALD H. SARGIS                                  Trustee Name:                      STEPHEN C. FERLMANN TRUSTEE
   Case Name:              DELIDDO AND ASSOCIATES, INC.                                                                                          Date Filed (f) or Converted (c):   01/29/2010 (c)
                                                                                                                                                 341(a) Meeting Date:               03/12/2010
   For Period Ending:      10/23/2014                                                                                                            Claims Bar Date:                   07/15/2010


                                          1                                                    2                               3                               4                          5                            6

                               Asset Description                                           Petition/                    Est Net Value                  Property Formally            Sale/Funds                     Asset Fully
                   (Scheduled and Unscheduled (u) Property)                               Unscheduled               (Value Determined by                  Abandoned                 Received by                Administered (FA)/
                                                                                            Values                   Trustee, Less Liens,                 OA=554(a)                  the Estate             Gross Value of Remaining
                                                                                                                         Exemptions,                                                                                 Assets
                                                                                                                      and Other Costs)

   INT. Post-Petition Interest Deposits             (u)                                                Unknown                            N/A                                                        2.04                          FA


                                                                                                                                                                                                      Gross Value of Remaining Assets
     TOTALS (Excluding Unknown Values)                                                             $5,288,408.00                   $463,882.61                                                $403,884.65                        $0.00
                                                                                                                                                                                                     (Total Dollar Amount in Column 6)


     Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

     2/12/11 Initiated adversary complaints against Baker Valley School District; Inovateus Solar
     2/12/11 Entered amendments 7/9/2010
     2/17/11 Filed adversary proceeding against Gary A. Clark and Bradley Peterson.
     2/18/11 Filed adversary cases against Jack P. DeLiddo; California New Power.
     2/22/11 Filed adversary cases against 532 North Sierra LLC; Clairvoyant, LLC.
     5/7/11 Order entered approving compromise with Baker Valley School District.
     Receive $125,000 from Baker Valley Sch. Dist. pursuant to compromise.
     7/27/11 Order entered approving compromise with Bradley Peterson for $3,500.00.
     Proceeds from Peterson received.
     9/7/11 Order entered approving compromise with 532 North Sierra for $175,000.00.
     Proceeds from North Sierra received.
     2/10/12 Judgment entered against Jack DeLiddo on adversary proceeding for $1.7 MM.
     2/22/12 Settled adversary proceeding against innovateus Solar for $75,000.00 approved by Court.
     4/25/12 Proceeding with judgment recovery efforts against Jack P. DeLiddo.
     7/25/12 Filed Judgment lien against lawsuit seeking monetary damages filed by DeLiddo in effort to recover judgment.
     October 30, 2012, 08:39 am Review status of litigation involving DeLiddo.
     December 10, 2012, 11:05 Review status of Deliddo litigation.
     February 25, 2013, 03:50 pm Review status of litigation involving DeLIddo as Plaintiff in U.S. Dist. Court.
     June 10, 2013, 11:26 am, Lawsuit filed by Jack DeLiddo dismissed. Estate received no payment on its lien filed in the District Court proceedings.
     September 17, 2013, Court entered order approving appointment of JNR to collect judgment against J. DeLIddo.
     January 23, 2014, JNR unable to recover any portion of judgment.
     March 19, 2014, Negotiate sale of judgment against Jack Deliddo for $5,000. Sale subject to Court approval.
     June 26, 2014, Sell Judgment against Jack Deliddo in open court for $7,500 to URS.
     July 14, 2014, Receive payment from URS for sale of Judgment against Jack DeLiddo.
     July 30, 2014, Submit final estate tax returns to IRS and FTB.
     October 7, 2014 review and approve professional fee apps.




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    RE PROP #              14   --   532 North Sierra to recover. Settled for $175,000.

    Initial Projected Date of Final Report (TFR): 06/01/2011            Current Projected Date of Final Report (TFR): 12/31/2014   Exhibit A




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                                                                                             FORM 2                                                                                                         Doc 281
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
             Case No: 09-90452                                                                                               Trustee Name: STEPHEN C. FERLMANN TRUSTEE                               Exhibit B
        Case Name: DELIDDO AND ASSOCIATES, INC.                                                                                Bank Name: Preferred Bank
                                                                                                                      Account Number/CD#: XXXXXX1852
                                                                                                                                              Checking Account
    Taxpayer ID No: XX-XXX4949                                                                               Blanket Bond (per case limit): $5,000,000.00
  For Period Ending: 10/23/2014                                                                              Separate Bond (if applicable):


         1                2                              3                                              4                                                    5                   6                     7

  Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                         Code                                                           ($)
     12/21/11                        Trsf In From Union Bank                   INITIAL WIRE TRANSFER IN                               9999-000             $295,711.36                               $295,711.36

     03/09/12             21         INOVATEUS SOLAR, LLC                      PREFERENCE PAID IN FULL                                1241-000              $75,000.00                               $370,711.36
                                     BARNES & THORNBURG LLPIOLTA
                                     TRUST ACCT
     03/21/12           3002         INTERNATIONAL SURETIES, LTD               BOND # 016048575                                       2300-000                                       $293.86         $370,417.50
                                     701 POYDRAS ST, SUITE 420NEW              1/11/12 TO 1/1/13
                                     ORLEANS, LA 70139
     02/12/13                        PREFERRED BANK                            BANK SERVICE FEE                                       2600-000                                       $385.85         $370,031.65

     02/15/13           3003         INTERNATIONAL SURETIES, LTD               bond # 016048575                                       2300-000                                       $312.01         $369,719.64
                                     701 POYDRAS ST, SUITE 420NEW              1/1/13 to 1/1/14
                                     ORLEANS, LA 70139
     03/01/13                        PREFERRED BANK                            BANK SERVICE FEE                                       2600-000                                       $385.51         $369,334.13

     03/15/13           3004         FRANCHISE TAX BOARD                  Extention for 2012 Return                                   2820-000                                       $800.00         $368,534.13
                                     P.O. Box 942857Sacramento, CA 94257-
                                     0531
     04/01/13                        Preferred Bank                            BANK SERVICE FEE                                       2600-000                                       $384.56         $368,149.57

     05/01/13                        Preferred Bank                            BANK SERVICE FEE                                       2600-000                                       $383.49         $367,766.08

     06/03/13                        Preferred Bank                            Bank Service Fee under 11                              2600-000                                       $383.09         $367,382.99
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     06/12/13                        Transfer to Acct # xxxxxx3784             Transfer of Funds                                      9999-000                                  $367,382.99                  $0.00



                                                                                                                COLUMN TOTALS                              $370,711.36          $370,711.36
                                                                                                                      Less: Bank Transfers/CD's            $295,711.36          $367,382.99
                                                                                                                Subtotal                                    $75,000.00            $3,328.37
                                                                                                                      Less: Payments to Debtors                   $0.00                $0.00
                                                                                                                Net                                         $75,000.00            $3,328.37



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                                                                                                                                                                                                     Page:           2
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                                                                                             FORM 2                                                                                                          Doc 281
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
             Case No: 09-90452                                                                                              Trustee Name: STEPHEN C. FERLMANN TRUSTEE                                 Exhibit B
        Case Name: DELIDDO AND ASSOCIATES, INC.                                                                               Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX7597
                                                                                                                                              Money Market Account
    Taxpayer ID No: XX-XXX4949                                                                               Blanket Bond (per case limit): $5,000,000.00
  For Period Ending: 10/23/2014                                                                              Separate Bond (if applicable):


         1                2                              3                                              4                                                    5                    6                     7

  Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                      Reference                                                                                                         Code                                                            ($)
     02/26/10             1          UNION BANK                                proceeds from Union Bank Acct                         1129-000                 $4,441.61                                  $4,441.61
                                     San Francisco, CA800-238-4486
     03/31/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.17                                 $4,441.78

     04/30/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.18                                 $4,441.96

     05/28/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.17                                 $4,442.13

     06/30/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.20                                 $4,442.33

     07/16/10             17         PAYCHEX INC/TAXPAY                        Receipt of pre-conversion                             1229-000                    $941.00                                 $5,383.33
                                     911 Panorama Trail SouthRochester, NY     refund
                                     14625-0397
     07/30/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.19                                 $5,383.52

     08/31/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.22                                 $5,383.74

     09/30/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.21                                 $5,383.95

     10/29/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.20                                 $5,384.15

     11/30/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.22                                 $5,384.37

     12/31/10            INT         Union Bank                                Interest Rate 0.050                                   1270-000                      $0.22                                 $5,384.59

     01/27/11            INT         Union Bank                                INTEREST REC'D FROM                                   1270-000                      $0.06                                 $5,384.65
                                                                               BANK
     01/27/11                        Transfer to Acct # XXXXXX7605             Final Posting Transfer                                9999-000                                      $5,384.65                  $0.00



                                                                                                                COLUMN TOTALS                                 $5,384.65            $5,384.65
                                                                                                                     Less: Bank Transfers/CD's                     $0.00           $5,384.65
                                                                                                                Subtotal                                      $5,384.65                 $0.00
                                                                                                                     Less: Payments to Debtors                     $0.00                $0.00

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                                                                 Net   $5,384.65   $0.00           Doc 281

                                                                                           Exhibit B




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                                                                                                                                                                                                     Page:           4
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                                                                                             FORM 2                                                                                                          Doc 281
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
             Case No: 09-90452                                                                                              Trustee Name: STEPHEN C. FERLMANN TRUSTEE                                 Exhibit B
        Case Name: DELIDDO AND ASSOCIATES, INC.                                                                                Bank Name: Union Bank
                                                                                                                      Account Number/CD#: XXXXXX7605
                                                                                                                                               Checking Account
    Taxpayer ID No: XX-XXX4949                                                                                Blanket Bond (per case limit): $5,000,000.00
  For Period Ending: 10/23/2014                                                                               Separate Bond (if applicable):


         1                2                              3                                               4                                                    5                   6                     7

  Transaction Date    Check or                 Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                          Code                                                           ($)
     01/27/11                        Transfer from Acct # XXXXXX7597           Transfer In From MMA Account                           9999-000                 $5,384.65                                 $5,384.65

     03/14/11           3001         FRANCHISE TAX BOARD                       income taxes--state 2010                               2820-000                                        $800.00            $4,584.65
                                     PO Box 942857Sacramento, CA 94257-        state taxes 2010
                                     0551
     05/31/11           3002         INTERNATIONAL SURETIES, LTD               Blanket Bond                                           2300-000                                          $2.00            $4,582.65
                                     Suite 420701 Poydras St.New Orleans,
                                     LA 90139
     06/15/11           3003         COLLINS, CARL W.                          Reimbursement Adversary                                2700-000                                     $1,000.00             $3,582.65
                                     1127 12th Street, Ste 202Modesto, CA      Filing Fees
                                     95354                                     Estate v. Jack Deliddo 11-9017
                                                                               Estate v. CA New Power 11-
                                                                               9018
                                                                               Estate v. 532 North Sierra LLC
                                                                               11-9019
                                                                               Estate v. Clairvoyant LLC 11-
                                                                               9020
     06/23/11             4          BAKER VALLEY UNIFIED SCHOOL               settlement check                                       1121-000              $135,000.00                               $138,582.65
                                     DISTRIC
                                     P.O. Box 460Baker, CA 92309
     06/28/11           3004         BANK OF THE SIERRA                        Settlement-Baker Vall. Sch.                            4120-000                                    $10,000.00          $128,582.65
                                     c/o Jan Perkins/Reid EverettPERKINS,      Dist.
                                     MANN & EVERETT2222 W. Shaw Ave.,          Proceeds due Bank per
                                     Ste 202Fresno, CA 93711                   settlement w/ Baker Valley Sch.
                                                                               Dist.
     07/05/11           3005         INTERNATIONAL SURETIES                    Blanket Bond #016030865                                2300-000                                          $4.33         $128,578.32
                                     Suite 420701 Poydras St.New Orleans,
                                     LA 70139
     09/26/11                        Union Bank                                BANK SERVICE FEE                                       2600-000                                        $314.66         $128,263.66

     10/11/11             19         PETERSON, BRADLEY S                       PREFERENCE                                             1241-000                 $3,500.00                              $131,763.66
                                     RCI Roofing Co
     10/14/11             14         USBANK                                    532 north sierra llc                                   1129-000              $175,000.00                               $306,763.66

     10/19/11           3006         RYAN, CHRISTIE, QUINN & HORN              ACCOUNTANTS                                            3410-000                                     $9,750.00          $297,013.66
                                     Certified Public Accountants575 E.        FEES/EXPENSES
                                     LOCUST, SUITE 102FRESNO, CA
                                     93720


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                                                                                                                                                                                                   Page:           5
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                                                                                             FORM 2                                                                                                        Doc 281
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
             Case No: 09-90452                                                                                              Trustee Name: STEPHEN C. FERLMANN TRUSTEE                               Exhibit B
        Case Name: DELIDDO AND ASSOCIATES, INC.                                                                               Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX7605
                                                                                                                                             Checking Account
    Taxpayer ID No: XX-XXX4949                                                                              Blanket Bond (per case limit): $5,000,000.00
  For Period Ending: 10/23/2014                                                                             Separate Bond (if applicable):


         1                2                              3                                             4                                                    5                   6                     7

  Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                        Code                                                           ($)
     10/25/11                        Union Bank                                BANK SERVICE FEE                                      2600-000                                       $314.66         $296,699.00

     11/25/11                        Union Bank                                BANK SERVICE FEE                                      2600-000                                       $508.87         $296,190.13

     12/21/11                        Union Bank                                BANK FEES                                             2600-000                                       $478.77         $295,711.36
                                     1980 Saturn StreetMonterey Park, CA
                                     91755
     12/21/11                        Trsf To Preferred Bank                    FINAL TRANSFER                                        9999-000                                  $295,711.36                  $0.00



                                                                                                               COLUMN TOTALS                              $318,884.65          $318,884.65
                                                                                                                     Less: Bank Transfers/CD's               $5,384.65         $295,711.36
                                                                                                               Subtotal                                   $313,500.00           $23,173.29
                                                                                                                     Less: Payments to Debtors                   $0.00                $0.00
                                                                                                               Net                                        $313,500.00           $23,173.29




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Filed 12/23/14                                                                           Case  09-90452
                                                                                             FORM 2                                                                                                          Doc 281
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
             Case No: 09-90452                                                                                             Trustee Name: STEPHEN C. FERLMANN TRUSTEE                                  Exhibit B
        Case Name: DELIDDO AND ASSOCIATES, INC.                                                                               Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX3784
                                                                                                                                              Checking
    Taxpayer ID No: XX-XXX4949                                                                               Blanket Bond (per case limit): $5,000,000.00
  For Period Ending: 10/23/2014                                                                              Separate Bond (if applicable):


         1                2                              3                                              4                                                     5                   6                     7

  Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                         Code                                                            ($)
     06/12/13                        Transfer from Acct # xxxxxx1852           Transfer of Funds                                     9999-000               $367,382.99                               $367,382.99

     07/25/13                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $334.67         $367,048.32
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     08/26/13                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $545.93         $366,502.39
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     09/25/13                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $545.39         $365,957.00
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     10/25/13                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $527.00         $365,430.00
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     11/25/13                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $543.75         $364,886.25
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     12/26/13                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $525.46         $364,360.79
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     01/06/14           3001         LTD INTERNATIONAL SURETIES                BOND ACCOUNT #                                        2300-000                                         $291.60         $364,069.19
                                     SUITE 420                                 016048575
                                     701 POYDRAS STREET
                                     NEW ORLEANS, LA 70139
     01/27/14                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $542.18         $363,527.01
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     02/25/14                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $541.17         $362,985.84
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     03/25/14                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $487.92         $362,497.92
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     04/08/14             22         PLACER TITLE CO                           PARTIAL SETTLEMENT                                    1241-000                  $2,500.00                              $364,997.92
                                                                               CONSIDERATION FOR
                                                                               RELEASE OF ABSTRACT OF
                                                                               JUDGMENT LIEN.


          UST Form 101-7-TFR (5/1/2011) (Page: 11)                                    Page Subtotals:                                                       $369,882.99            $4,885.07
                                                                                                                                                                                                     Page:           7
Filed 12/23/14                                                                           Case  09-90452
                                                                                             FORM 2                                                                                                          Doc 281
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
             Case No: 09-90452                                                                                             Trustee Name: STEPHEN C. FERLMANN TRUSTEE                                  Exhibit B
        Case Name: DELIDDO AND ASSOCIATES, INC.                                                                               Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX3784
                                                                                                                                              Checking
    Taxpayer ID No: XX-XXX4949                                                                               Blanket Bond (per case limit): $5,000,000.00
  For Period Ending: 10/23/2014                                                                              Separate Bond (if applicable):


         1                2                              3                                              4                                                     5                   6                     7

  Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                         Code                                                            ($)
     04/25/14                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $539.34         $364,458.58
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     05/27/14                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $523.76         $363,934.82
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     06/25/14                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $541.57         $363,393.25
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     07/15/14             22         URS                                       final payment judment                                 1241-000                  $7,500.00                              $370,893.25
                                     P.O. BOX 201088
                                     AUSTIN, TX 78720-1088
     07/25/14                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $523.31         $370,369.94
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     07/29/14           3002         FRANCHISE TAX BOARD                       2011 Taxes Tax ID# 77-                                2810-000                                      $1,744.00          $368,625.94
                                     P.O. BOX 942857                           0444949
                                     SACRAMENTO, CA 94257-0651
     07/29/14           3003         FRANCHISE TAX BOARD                       2013 TAXES TAX ID# 77-                                2810-000                                         $822.00         $367,803.94
                                     P.O. BOX 942857                           0444949
                                     SACRAMENTO, CA 94257-0651
     07/29/14           3004         FRANCHISE TAX BOARD                       2014 taxes Tax ID# 77-                                2810-000                                         $800.00         $367,003.94
                                     P.O. BOX 942857                           0444949
                                     SACRAMENTO, CA 94257-0651
     07/29/14           3005         FRANCHISE TAX BOARD                       2009 taxes Tax ID# 77-                                2810-000                                         $835.00         $366,168.94
                                     P.O. BOX 942857                           0444949
                                     SACRAMENTO, CA 94257-0651
     08/25/14                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $545.33         $365,623.61
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     09/25/14                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $545.57         $365,078.04
                                                                               U.S.C. § 330(a)(1)(B), 503(b)
                                                                               (1), and 507(a)(2)
     09/30/14           3006         STEVEN S. ALTMAN ESQUIRE                  COURT ORDERED FEES                                    3991-000                                      $3,000.00          $362,078.04
                                     1127 12TH STREET, SUITE 203               4/6/12
                                     MODESTO, CA 95354



          UST Form 101-7-TFR (5/1/2011) (Page: 12)                                    Page Subtotals:                                                          $7,500.00          $10,419.88
                                                                                                                                                                                                       Page:           8
Filed 12/23/14                                                                           Case  09-90452
                                                                                             FORM 2                                                                                                            Doc 281
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
             Case No: 09-90452                                                                                                 Trustee Name: STEPHEN C. FERLMANN TRUSTEE                                Exhibit B
        Case Name: DELIDDO AND ASSOCIATES, INC.                                                                                  Bank Name: Union Bank
                                                                                                                        Account Number/CD#: XXXXXX3784
                                                                                                                                                Checking
    Taxpayer ID No: XX-XXX4949                                                                                 Blanket Bond (per case limit): $5,000,000.00
  For Period Ending: 10/23/2014                                                                                Separate Bond (if applicable):


         1                2                              3                                                4                                                     5                   6                     7

  Transaction Date    Check or                 Paid To / Received From                        Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                      Reference                                                                                                           Code                                                            ($)
     10/21/14           3007         DAVID C. JOHNSTON ESQUIRE                 final distribution                                       3991-000                                     $5,979.94          $356,098.10
                                     1600 G. Street, Suite 102
                                     Modesto, CA 95354


                                                                                                                  COLUMN TOTALS                               $377,382.99           $21,284.89
                                                                                                                        Less: Bank Transfers/CD's             $367,382.99                 $0.00
                                                                                                                  Subtotal                                     $10,000.00           $21,284.89
                                                                                                                        Less: Payments to Debtors                    $0.00                $0.00
                                                                                                                  Net                                          $10,000.00           $21,284.89




          UST Form 101-7-TFR (5/1/2011) (Page: 13)                                     Page Subtotals:                                                               $0.00           $5,979.94
                                                                                                                                                                    Page:      9
Filed 12/23/14                                                                  Case 09-90452                                                                               Doc 281

                                                                                                                                                                     Exhibit B
                                                                                                TOTAL OF ALL ACCOUNTS
                                                                                                                                                 NET             ACCOUNT
                                                                                                              NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                                  XXXXXX1852 - Checking Account                                   $75,000.00                $3,328.37                 $0.00

                                                  XXXXXX3784 - Checking                                           $10,000.00               $21,284.89           $356,098.10
                                                  XXXXXX7597 - Money Market Account                                 $5,384.65                  $0.00                  $0.00

                                                  XXXXXX7605 - Checking Account                                  $313,500.00               $23,173.29                 $0.00

                                                                                                                 $403,884.65               $47,786.55           $356,098.10

                                                                                                            (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                    transfers)            to debtors)
                                                  Total Allocation Receipts:                       $0.00
                                                  Total Net Deposits:                       $403,884.65
                                                  Total Gross Receipts:                     $403,884.65




       UST Form 101-7-TFR (5/1/2011) (Page: 14)                           Page Subtotals:                                          $0.00                $0.00
Filed 12/23/14                                                       Case 09-90452                                                                            Doc 281
                                                                          Exhibit C
                                                                ANALYSIS OF CLAIMS REGISTER
 Case Number: 9:09-90452-RHS                                                                                                                      Date: October 23, 2014
 Debtor Name: DELIDDO AND ASSOCIATES, INC.
 Claims Bar Date: 7/15/2010


 Code #     Creditor Name And Address          Claim Class        Notes                                                 Scheduled              Claimed          Allowed
 22         INTERNAL REVENUE SERVICE           Priority                                                                     $0.00                $0.00             $0.00
 40         PO BOX 7346
 5200       PHILADELPHIA, PA 19101-7346                           paid in full per document filed 6/12/12 attached to the claim




 23         INTERNAL REVENUE SERVICE           Priority                                                                      $0.00             $400.00           $400.00
 40         PO BOX 7346
 5200       PHILADELPHIA, PA 19101-7346




 2          INTERNAL REVENUE SERVICE           Priority                                                                      $0.00             $300.00           $300.00
 40         PO BOX 21126
 5800       PHILADELPHIA, PA 19114




 20         FRANCHISE TAX BOARD                Priority                                                                      $0.00           $48,388.58       $48,388.58
 40         Bankruptcy Section MS A340
 5800       PO Box 2952                                           (20) Amends Claim #11 ; Exhibit(s) docketed in the main case 4/18/11
            Sacramento, CA 95812


            STEPHEN C. FERLMANN                Administrative                                                                $0.00           $23,444.23       $23,444.23
 100        TRUSTEE
 2100       4120 DALE ROAD STE J-8, #184
            MODESTO, CA 95356


            STEPHEN C. FERLMANN                Administrative                                                                $0.00             $449.26           $449.26
 100        TRUSTEE
 2200       4120 DALE ROAD STE J-8, #184
            MODESTO, CA 95356


            CARL COLLINS ESQUIRE               Administrative                                                                $0.00            $1,914.84        $1,914.84
 100        P.O. BOX 3291
 2700       MODESTO, CA 95353




            FRANCHISE TAX BOARD                Administrative                                                                $0.00             $800.00           $800.00
 100        P.O. BOX 2952
 2820       SACRAMENTO, CA 95812-2952




            FRANCHISE TAX BOARD                Administrative                                                                $0.00             $800.00           $800.00
 100        P.O. BOX 942857
 2820       SACRAMENTO, CA 94257-0651




                                                                               Page 1                                             Printed: October 23, 2014




          UST Form 101-7-TFR (5/1/2011) (Page: 15)
Filed 12/23/14                                                          Case 09-90452                                               Doc 281
                                                                             Exhibit C
                                                                   ANALYSIS OF CLAIMS REGISTER
 Case Number: 9:09-90452-RHS                                                                                           Date: October 23, 2014
 Debtor Name: DELIDDO AND ASSOCIATES, INC.
 Claims Bar Date: 7/15/2010


 Code #     Creditor Name And Address             Claim Class        Notes                       Scheduled          Claimed           Allowed
 20-5       FRANCHISE TAX BOARD                   Administrative                                     $0.00         $4,595.16         $4,595.16
 100        P.O. BOX 2952
 2820       SACRAMENTO, CA 95812-2952




 15         UNITED STATES TRUSTEE                 Administrative                                     $0.00          $650.00           $650.00
 100        Office of the United States Trustee
 2950       501 I St #7-500                                          Amended
            Sacramento, CA 95814


            CARL W. COLLINS                       Administrative                                     $0.00        $64,366.00        $64,366.00
 100        1127 12th ST. #106
 3210       PO BOX 3291
            MODESTO, CA 95354


            QUINN & HORN RYAN                     Administrative                                     $0.00        $35,045.00        $35,045.00
 100        CHRISTIE
 3410       Certified Public Accountants
            575 E. LOCUST, SUITE 102
            FRESNO, CA 93720

            STEVEN S. ALTMAN ESQUIRE              Administrative                                     $0.00         $3,000.00         $3,000.00
 100        1127 12TH STREET, SUITE 203
 3991       MODESTO, CA 95354




            DAVID C. JOHNSTON                     Administrative                                     $0.00         $5,979.94         $5,979.94
 100        1600 G. Street, Suite 102
 3991       Modesto, CA 95354




 1          SQUARE D COMPANY                      Unsecured                                          $0.00       $145,979.48       $145,979.48
 300        Michael A. Wisniewski
 7100       1415 S Roselle Rd
            Palatine, IL 60067


 6          STATE FUND                            Unsecured                                          $0.00         $8,429.87         $8,429.87
 300        NCCS
 7100       PO Box 13765
            Sacramento, CA 95853


 7          FIRST NATIONAL BANK OF                Unsecured                                          $0.00         $5,342.89         $5,342.89
 300        OMAHA
 7100       1620 Dodge St Stop Code 3105
            Omaha, NE 68197




                                                                               Page 2                  Printed: October 23, 2014




          UST Form 101-7-TFR (5/1/2011) (Page: 16)
Filed 12/23/14                                                    Case 09-90452                                                 Doc 281
                                                                       Exhibit C
                                                             ANALYSIS OF CLAIMS REGISTER
 Case Number: 9:09-90452-RHS                                                                                      Date: October 23, 2014
 Debtor Name: DELIDDO AND ASSOCIATES, INC.
 Claims Bar Date: 7/15/2010


 Code #     Creditor Name And Address          Claim Class     Notes                        Scheduled          Claimed             Allowed
 8          FIRST NATIONAL BANK OF             Unsecured                                        $0.00          $265.69             $265.69
 300        OMAHA
 7100       1620 Dodge St Stop Code 3105
            Omaha, NE 68197


 10         AEE SOLAR, INC.                    Unsecured                                        $0.00        $86,921.10         $86,921.10
 300        Attn: Legal Dept.
 7100       775 Fiero Ln #200
            San Luis Obispo, CA 93401


 12         FIRST NATIONAL BANK OF             Unsecured                                        $0.00         $1,861.36          $1,861.36
 300        OMAHA
 7100       1620 Dodge St Stop Code 3105
            Omaha, NE 68197


 13         FIRST NATIONAL BANK OF             Unsecured                                        $0.00         $5,323.94          $5,323.94
 300        OMAHA
 7100       1620 Dodge St Stop Code 3105
            Omaha, NE 68197


 14         N. A. UNION BANK                   Unsecured                                        $0.00         $5,885.27          $5,885.27
 300        Attn: G. Calica
 7100       PO Box 85443 LRU-M711
            San Diego, CA 92186-5443


 17         BEVINS AND MCC                     Unsecured                                        $0.00       $169,400.81        $169,400.81
 300        WALSWORTH FRANKLIN
 7100       Attn: Lawrence E. Duffy, Jr.
            1 City Blvd W 5th Fl
            Orange, CA 92868-3677

 18         SAIBER LLC                         Unsecured                                        $0.00        $41,757.04         $41,757.04
 300        18 Columbia Turnpike #200
 7100       Florham Park, NJ 07932                             Duplicate claim (#5)




 19         GRIMBLEBY COLEMAN                  Unsecured                                        $0.00        $46,150.84         $46,150.84
 300        CPA'S,INC.
 7100       200 W Roseburg Ave
            Modesto, CA 95350


 21         URS CORPORATION                    Unsecured                                        $0.00     $1,648,782.70       $1,648,782.70
 300        c/o Aron M. Oliner
 7100       Duane Morris LLP                                   (21) Amends Claim Number 4
            1 Market Plaza Spear St #2200
            San Francisco, CA 94105-1127




                                                                           Page 3                 Printed: October 23, 2014




          UST Form 101-7-TFR (5/1/2011) (Page: 17)
Filed 12/23/14                                                        Case 09-90452                                                                                   Doc 281
                                                                           Exhibit C
                                                                 ANALYSIS OF CLAIMS REGISTER
 Case Number: 9:09-90452-RHS                                                                                                                        Date: October 23, 2014
 Debtor Name: DELIDDO AND ASSOCIATES, INC.
 Claims Bar Date: 7/15/2010


 Code #     Creditor Name And Address           Claim Class        Notes                                                 Scheduled             Claimed               Allowed
 24         Inovateus solar                     Unsecured                                                                    $0.00          $107,500.00           $107,500.00
 300        C/O JOHN W. MILLS III
 7100       ESQUIRE
            2049 CENTURY PARK EAST,
            35TH FLOOR
            LOS ANGELES, CA 90067
 3          URS CORPORATION                     Secured                                                                       $0.00         $271,538.00           $271,538.00
 400        c/o Aron M. Oliner
 4210       1 Market Plaza Spear Street Tower                      secured judgment
            #200
            San Francisco, CA 94015-1104

 9          BANK OF THE SIERRA                  Secured                                                                       $0.00         $311,000.00           $311,000.00
 400        c/o Christopher E. Seymour
 4210       5260 N Palm Ave #221                                   Claim subject to settlement of Baker Valley School District litigation. See Doc. 169,,,, secured
            Fresno, CA 93704


            LTD INTERNATIONAL                   Administrative                                                                $0.00                $6.33                 $6.33
 999        SURETIES
 2300       701 POYDRAS ST, SUITE 420
            NEW ORLEANS, LA 70139


 BOND       LTD INTERNATIONAL                   Administrative                                                                $0.00              $605.87               $605.87
 999        SURETIES
 2300       701 POYDRAS ST, SUITE 420                              Extended Check Description Notes from conversion:
            NEW ORLEANS, LA 70139                                  1/11/12 TO 1/1/13




            Case Totals                                                                                                       $0.00       $3,046,884.20         $3,046,884.20
               Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




                                                                                Page 4                                          Printed: October 23, 2014




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Filed 12/23/14                                              Case 09-90452                                                   Doc 281




                                                  TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                                Exhibit D

            Case No.: 09-90452
            Case Name: DELIDDO AND ASSOCIATES, INC.
            Trustee Name: STEPHEN C. FERLMANN TRUSTEE
                                Balance on hand                                              $               356,098.10

                      Claims of secured creditors will be paid as follows:

                                                                     Allowed          Interim
                                                                     Amount of        Payment to          Proposed
             Claim No. Claimant                       Claim Asserted Claim            Date                Payment
                             URS
             3               CORPORATION             $   271,538.00 $     271,538.00 $            0.00 $             0.00
                             BANK OF THE
             9               SIERRA                  $   311,000.00 $     311,000.00 $     10,000.00 $               0.00
                        Total to be paid to secured creditors                                $                       0.00
                        Remaining Balance                                                    $               356,098.10


                      Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                  Interim Payments Proposed
                                Reason/Applicant                Total Requested   to Date          Payment
             Trustee Fees: STEPHEN C. FERLMANN
             TRUSTEE                                            $       23,444.23 $              0.00 $       23,444.23
             Trustee Expenses: STEPHEN C.
             FERLMANN TRUSTEE                                   $         449.26 $               0.00 $          449.26
             Attorney for Trustee Fees: CARL W.
             COLLINS                                            $       64,366.00 $              0.00 $       64,366.00
             Accountant for Trustee Fees: QUINN &
             HORN RYAN CHRISTIE                                 $       35,045.00 $       9,750.00 $          25,295.00
             Charges: CARL COLLINS ESQUIRE                      $        1,914.84 $       1,000.00 $             914.84
             Fees: UNITED STATES TRUSTEE                        $         650.00 $               0.00 $          650.00
             Other: DAVID C. JOHNSTON                           $        5,979.94 $       5,979.94 $                 0.00




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Filed 12/23/14                                              Case 09-90452                                                     Doc 281




                                                                                         Interim Payments Proposed
                                Reason/Applicant                     Total Requested     to Date          Payment
             Other: FRANCHISE TAX BOARD                          $           5,395.16 $         5,001.00 $           394.16
             Other: FRANCHISE TAX BOARD                          $             800.00 $           800.00 $             0.00
             Other: LTD INTERNATIONAL
             SURETIES                                            $             612.20 $           612.20 $             0.00
             Other: STEVEN S. ALTMAN ESQUIRE                     $           3,000.00 $         3,000.00 $             0.00
                        Total to be paid for chapter 7 administrative expenses                     $           115,513.49
                        Remaining Balance                                                          $           240,584.61


                      Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                                          NONE


                     In addition to the expenses of administration listed above as may be allowed by the Court,
            priority claims totaling $ 49,088.58 must be paid in advance of any dividend to general (unsecured)
            creditors.

                        Allowed priority claims are:

                                                                 Allowed Amount          Interim Payments Proposed
            Claim No.            Claimant                        of Claim                to Date          Payment
                                 INTERNAL REVENUE
            2                    SERVICE                         $            300.00 $              0.00 $           300.00
                                 FRANCHISE TAX
            20                   BOARD                           $         48,388.58 $              0.00 $      48,388.58
                                 INTERNAL REVENUE
            22                   SERVICE                         $              0.00 $              0.00 $             0.00
                                 INTERNAL REVENUE
            23                   SERVICE                         $            400.00 $              0.00 $           400.00
                        Total to be paid to priority creditors                                     $            49,088.58
                        Remaining Balance                                                          $           191,496.03




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Filed 12/23/14                                            Case 09-90452                                                   Doc 281




                    The actual distribution to wage claimants included above, if any, will be the proposed payment
            less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

                    Timely claims of general (unsecured) creditors totaling $ 2,273,600.99 have been allowed and
            will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
            timely allowed general (unsecured) dividend is anticipated to be 8.4 percent, plus interest (if
            applicable).

                        Timely allowed general (unsecured) claims are as follows:

                                                              Allowed Amount       Interim Payments Proposed
            Claim No.            Claimant                     of Claim             to Date          Payment
            1                    SQUARE D COMPANY           $       145,979.48 $              0.00 $         12,295.25
            6                    STATE FUND                 $         8,429.87 $              0.00 $            710.01
                                 FIRST NATIONAL
            7                    BANK OF OMAHA              $         5,342.89 $              0.00 $            450.01
                                 FIRST NATIONAL
            8                    BANK OF OMAHA              $           265.69 $              0.00 $              22.38
            10                   AEE SOLAR, INC.            $        86,921.10 $              0.00 $          7,321.01
                                 FIRST NATIONAL
            12                   BANK OF OMAHA              $         1,861.36 $              0.00 $            156.77
                                 FIRST NATIONAL
            13                   BANK OF OMAHA              $         5,323.94 $              0.00 $            448.41
            14                   N. A. UNION BANK           $         5,885.27 $              0.00 $            495.69
                                 BEVINS AND MCC
                                 WALSWORTH
            17                   FRANKLIN                   $       169,400.81 $              0.00 $         14,267.93
            18                   SAIBER LLC                 $        41,757.04 $              0.00 $          3,517.02
                                 GRIMBLEBY COLEMAN
            19                   CPA'S,INC.        $                 46,150.84 $              0.00 $          3,887.09
            21                   URS CORPORATION            $     1,648,782.70 $              0.00 $       138,870.17
            24                   Inovateus solar            $       107,500.00 $              0.00 $          9,054.29
                        Total to be paid to timely general unsecured creditors               $              191,496.03




       UST Form 101-7-TFR (5/1/2011) (Page: 21)
Filed 12/23/14                                           Case 09-90452                                                     Doc 281




                        Remaining Balance                                                    $                     0.00




                    Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
            be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
            have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                        Tardily filed general (unsecured) claims are as follows:


                                                                   NONE




                   Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
            subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
            allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
            subordinated unsecured claims is anticipated to be 0.0 percent.

                   Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
            subordinated by the Court are as follows:


                                                                   NONE




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